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The following constitutes the ruling of the court and has the force and effect therein described.



Signed April 29, 2020
                                            United States Bankruptcy Judge
  ______________________________________________________________________



                                 UNITED STATES BANKRUPTCY COURT
                                   NORTHERN DISTRICT OF TEXAS

     In re:
                                                           Chapter 7
     CARL WAYNE ORRELL,
                                                           Case No. 19-33630
           Debtor.
     ___________________________________/

     KAPITUS SERVICING INC. AS
     SERVICING AGENT FOR KAPITUS LLC,

                    Plaintiff,
              v.

     CARL WAYNE ORRELL,                                    Adv. Pro. No. 20-03016

                 Defendant.
     ___________________________________/

                       STIPULATION AND AGREED SCHEDULING ORDER

           The Court, having considered the contents and merits of the Joint Motion For Entry Of
     Agreed Scheduling Order and this Stipulation and Agreed Scheduling Order and the parties’
     agreement thereto, as evidenced by their signatures below, it is of the opinion that this Order should
     be GRANTED.

           IT IS THEREFORE ORDERED that each of the dates set forth below in this Agreed
     Scheduling Order shall serve as the deadlines for this case:



     AGREED SCHEDULING ORDER                                                                        PAGE 1
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      1. TRIAL AND DOCKET CALL. TRIAL is set before the Honorable Barbara J. Houser
         at Courtroom #2, 14th Floor, 1100 Commerce Street, Dallas the week of November 9,
         2020. Docket call for this trial will be held on November 3, 2020 at 1:15 p.m. at Courtroom
         #2, 14th Floor, 1100 Commerce Street, Dallas. A pretrial conference shall be scheduled
         by the parties at least seven (7) calendar days prior to trial docket call in a complex
         adversary proceeding if the parties anticipate that trial will exceed one day or if there are
         preliminary matters that should be addressed by the Court prior to the commencement of
         trial.

      2. DISCOVERY. Discovery must be completed forty-five (45) days prior to Docket Call.
         The names and addresses of experts must be exchanged sixty (60) days prior to Docket
         Call.

      3. JOINT PRETRIAL ORDER. A Joint Pretrial Order in compliance with Local District
         Court Rule 16.4 shall be filed, served, and uploaded for Court entry seven (7) days prior to
         Docket Call. All counsel (or a pro se party) are responsible for preparing the Joint Pretrial
         Order, which shall contain the following: (a) a summary of the claims and defenses of each
         party; (b) a statement of stipulated facts; (c) a list of the contested issues of fact; (d) a list
         of contested issues of law; (e) an estimate of the length of trial; (f) a list of additional
         matters which would aid in the disposition of the case; and (g) the signature of each attorney
         (or pro se party).

      4. EXHIBITS AND WITNESSES. Each exhibit shall be marked with an exhibit label.
         Except for impeachment documents, all exhibits, along with a list of witnesses to be called,
         shall be exchanged with opposing counsel (or pro se party) fourteen (14) days prior to
         Docket Call. Each party shall also file a list of exhibits and witnesses fourteen (14) days
         prior to Docket Call. All exhibits not objected to in writing by Docket Call shall be admitted
         into evidence at trial without further proof, except for objections to relevance. Written
         objections to exhibits will be taken up either at the beginning or during the course of the
         actual trial or at any pretrial conference.

5.        WRITTEN PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW.
          Written proposed findings of fact and conclusions of law shall be filed seven (7) days prior
          to Docket Call. Trial briefs shall be filed addressing contested issues of law seven (7) days
          prior to Docket Call.

6.        DISPOSITIVE MOTIONS & EXPERT CHALLENGES. Unless otherwise directed by
          the Presiding Judge, all dispositive motions must be heard no later fourteen (14 days) prior
          to Docket Call. Accordingly, all dispositive motions must be filed no later than forty-five
          days prior to Docket Call, unless the Court modifies this deadline.

IT IS FURTHER ORDERED that except as expressly stated to the contrary herein, all the terms
of the Order Regarding Adversary Proceedings Trial Setting and Alternative Scheduling Order
[ECF 3] remain in full force and effect.




AGREED SCHEDULING ORDER                                                                             PAGE 2
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IT IS FURTHER ORDERED that changes to this Stipulation and Agreed Scheduling Order may
only be made by further order of this Court.

                                  # # # End of Order # # #

AGREED AS TO FORM:


 RUBIN & ASSOCIATES, P.C.                        DIAMOND McCARTHY LLP

  /s/ Mark S. Rubin                              /s/ Charles M. Rubio
 Mark S. Rubin                                   Charles M. Rubio
 State Bar I.D. No. 17361550                     TBA No. 24083768
 Kelli L. Johnson                                crubio@diamondmccarthy.com
 State Bar I.D. No. 24053317                     909 Fannin, Suite 3700
 13601 Preston Road, Suite 500E                  Houston, TX 77010
 Dallas, Texas 75240                             (713) 333-5100
 (214) 760-7777                                  crubio@diamondmccarthy.com

 Counsel for Defendant                           Counsel to Plaintiff




AGREED SCHEDULING ORDER                                                           PAGE 3
